                            UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

LARRY RUMBOUGH,

                        Plaintiff,

v.                                                        Case No: 6:17-cv-956-Orl-40GJK

NATIONAL CONSUMER TELECOM &
UTILITIES EXCHANGE,

                        Defendant.


                                          ORDER
       This cause came on for consideration without oral argument on the following motion:

       MOTION:          DEFENDANT EQUIFAX INFORMATION SERVICES
                        LLC’S RESPONSE IN OPPOSITION TO PLAINTIFF’S
                        BILL OF COSTS (Doc. No. 107)

       FILED:           October 8, 2018



       THEREON it is ORDERED that the document is treated as a motion to review
       costs and DENIED for failure to comply with Local Rule 3.01(g).

       DONE and ORDERED in Orlando, Florida, on October 10, 2018.




Copies furnished to:

Counsel of Record
Unrepresented Parties
